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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:20−cr−00077
                                                       Honorable Matthew F. Kennelly
Kenneth D Courtright
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, February 4, 2022:


       MINUTE entry before the Honorable Matthew F. Kennelly as to Kenneth D
Courtright: Telephonic status hearing held on 2/4/2022 and continued to 3/24/2022 at 9:15
a.m. The following call−in number will be used for the hearing: 888−684−8852, access
code 746−1053. The defendant must appear for the hearing. Ordered time excluded
through 3/24/2022 due to the complexity of the case, pursuant to 18 U.S.C.
3161(h)(7)(B)(iv). Mailed notice. (mma, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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